                 Case 3:16-cv-01345-AWT Document 291-2 Filed 12/28/20 Page 1 of 4


Alex Braitberg

From:                Webster, Michelle N. <MWebster@mayerbrown.com>
Sent:                Thursday, December 3, 2020 6:13 PM
To:                  Joel Rohlf; Andrew Schlichter; Alex Braitberg
Cc:                  Netter, Brian; Ross, Nancy; Nowak, Richard; Glickstein, Jed
Subject:             RE: Vellali v. Yale - Defendants' upcoming filings [MB-AME.FID1573516]


Joel,

The Second Circuit’s decision in Lugosch emphasizes the importance of public disclosure at the summary judgment
phase. We disagree that it is “unfair” to make expert reports or deposition testimony public at summary judgment
whenever experts rely on confidential material. In fact, your experts claim to have based their entire opinions on
“experience” that they maintain is confidential. We also note that your experts’ reports and testimony on similar issues
have already been made public in filings and judicial opinions in other cases, including in the Second Circuit. There is
surely no basis for withholding information that is already in the public domain.

We will file the documents provisionally under seal so that you may make whatever arguments that your clients authorize
you to make. If you continue to press arguments with no colorable basis in law, Yale, of course, reserves the right to seek
appropriate sanctions.

Regards,

Michelle

Michelle N. Webster
Counsel
Mayer Brown LLP | T 202 263 3714 | M 202 669 4308 | mwebster@mayerbrown.com


From: Joel Rohlf <jrohlf@uselaws.com>
Sent: Thursday, December 3, 2020 6:23 PM
To: Webster, Michelle N. <MWebster@mayerbrown.com>; Andrew Schlichter <aschlichter@uselaws.com>; Alex
Braitberg <abraitberg@uselaws.com>
Cc: Netter, Brian <BNetter@mayerbrown.com>; Ross, Nancy <NRoss@mayerbrown.com>; Nowak, Richard
<RNowak@mayerbrown.com>; Glickstein, Jed <JGlickstein@mayerbrown.com>
Subject: RE: Vellali v. Yale ‐ Defendants' upcoming filings [MB‐AME.FID1573516]

**EXTERNAL SENDER**

Michelle‐

Plaintiffs’ experts’ reports and testimony are primarily designated confidential because they rely extensively on
confidential discovery materials produced by Yale and third parties. It is impossible to separate the experts’ analysis
from those confidential materials and unfair to make their reports and testimony public without the ability to discuss
the underlying materials that form the basis of their opinions. If Yale and the third parties are willing to de‐designate all
the underlying documents upon which our experts rely, Plaintiffs are willing to agree to public filing of their reports and
the cited portions of their depositions, subject to limited redactions of confidential client information. Otherwise, our
position is that they should be filed under seal in their entirety.



                                                              1
                                                                                                              Exhibit 2
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Please let us know as soon as possible if Defendants and the third parties are willing to de‐designate the documents
Plaintiffs’ experts relied upon in forming their opinions, so we can provide you redactions for confidential client
information as necessary. Otherwise, we request that Defendants file them provisionally under seal.

Regards,

Joel

Joel Rohlf
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T: 314-884-7703
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please immediately notify the sender and delete this message. Thank you.




From: Webster, Michelle N. <MWebster@mayerbrown.com>
Sent: Wednesday, December 2, 2020 6:02 PM
To: Andrew Schlichter <aschlichter@uselaws.com>; Joel Rohlf <jrohlf@uselaws.com>; Alex Braitberg
<abraitberg@uselaws.com>
Cc: Netter, Brian <BNetter@mayerbrown.com>; Ross, Nancy <NRoss@mayerbrown.com>; Nowak, Richard
<RNowak@mayerbrown.com>; Glickstein, Jed <JGlickstein@mayerbrown.com>
Subject: Vellali v. Yale ‐ Defendants' upcoming filings [MB‐AME.FID1573516]

Counsel:

        In connection with our December 4th filings in the Vellali case, Defendants anticipate attaching and citing to the
below materials. These materials are relevant both to summary judgment and to Defendants’ forthcoming motions to
exclude these experts under FRE 702.

                 Expert Report of Daniel Alexander
                 Rebuttal Report of Daniel Alexander
                 Expert Report of Gerald Buetow
                 Expert Report of Wendy Dominguez
                 Rebuttal Report of Wendy Dominguez
                 Expert Report of Ty Minnich
                 Rebuttal Report of Ty Minnich
                 Expert Report of Al Otto
                 Excerpts of the Deposition of Daniel Alexander
                      o pp. 22-23, 57-58, 62-64, 66, 68, 107-109, 126-127, 130-131, 133, 226, 227, 270, 285, 296-297, 299-
                          300, 318, 340‐341, 358, 360, 362
                 Excerpts of the Deposition of Gerald Buetow
                      o pp. 25-28
                 Excerpts of the Deposition of Wendy Dominguez


                                                                   2
                                                                                                                       Exhibit 2
                    Case 3:16-cv-01345-AWT Document 291-2 Filed 12/28/20 Page 3 of 4

                         o  pp. 23, 26, 48-49, 77-78, 82-83, 90-92, 105, 108-109, 119, 130, 140, 162, 169-170, 174-175, 205-
                            209, 219-220, 225-226, 240
                   Excerpts of the Deposition of Ty Minnich
                        o pp. 9, 21-22, 32, 77, 80, 84, 93, 99, 100-103, 118, 126-127, 132, 143-144, 151, 157-158,
                   Excerpts of the Deposition of Al Otto
                        o pp. 28, 37-38, 41-42, 50, 53, 97, 101, 114-115, 148, 163-164

        The Second Circuit has held that “documents submitted to a court for its consideration in a summary judgment
motion are — as a matter of law — judicial documents to which a strong presumption of access attaches.” Lugosch III v.
Pyramid Co. of Onondaga, 435 F.3d 110, 121 (2d Cir. 2006); see also Louis Vuitton Malletier S.A. v. Sunny Merchandise Corp.,
97 F. Supp. 3d 485, 511-12 (S.D.N.Y. 2015) (finding that “expert reports that were the subject of the Daubert motion in this
case” are “judicial documents, and the public interest in each is high”).

         Although we do not currently believe that the foregoing documents or excerpts overcome this presumption, we
ask that you let us know your position as to the documents by close of business tomorrow. If you contend that some or all
of these documents must be filed under seal, in whole or in part, we will file a motion to seal those documents
provisionally. However, we reserve the right to oppose their permanent sealing once you have explained the purported
basis for doing so to the Court.

Regards,
Michelle


Michelle N. Webster
Counsel
Pronouns: She/Her/Hers
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                                                                3
                                                                                                               Exhibit 2
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                                                        4
                                                                                                    Exhibit 2
